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IN THE UNITED S'I`ATES DIS'I`RICT C(}URT
FOR THE EASTERN DISTRICT ()F PENNSYLVANIA

MlKAYLA GAFFNEY
2426 N. 50th sireer, ;
Philadelphia, PA 19131 : Civil Aotion No.:
individually and on behalf of all others .
similarly situated, : Jury Trial Dernanded
Plaintiff,
V.

Xolo Tacos 2, Inc.
14 N. Merion Avenue,
Bryn Mawr, PA 1901()

Defendant.

 

C()LLECTIVE AND CLASS ACTION COMPLAINT

Plaintiff Mikayla Gaffney (“Plaintiff”), individually and on behalf of all other similarly
situated employees of Xolo Tacos 2, LLC (“Defendant”), by and through her undersigned
counsel, brings this Collective and Class Aotion Complaint (“Complaint”) against Defendant and
alleges, upon personal belief as to herself and her own acts, and as for all other matters upon
information and belief, as follows:

NATURE OF THE ACTION

1. Plaintiff brings this Complaint on behalf of herself and others similarly situated
contending Defendant failed to pay Plaintiff and Class Plaintiffs the mandated minimum Wage
for all hours Worl<ed per workweek in violation of the Fair Labor Standards Aot (“FLSA”), 29
U.S.C. § 201, et seq. and the Pennsylvania Minirnum Wage Act (“Pl\/IWA”), 43 P.S. § 333.10()

er Seq.

 

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2. As a result of Defendant’s improper and Willful failure to pay its Servers in
accordance With the requirements of the FLSA/PMWA, Plaintiff and others similarly situated
have suffered damages

3. Plaintiff brings this action for monetary damages, declaratory and injunctive
relief, and other equitable an ancillary relief, to seek redress for Defendant’s Willful, unlawful

and improper conduct

PARTIES

4. Paragraphs 1 through 3 are hereby incorporated by reference as though the same
Were fully set forth at length herein.

5. “Class Plaintiffs” are the individuals named above and those Who file “opt-in”
consent forms With the Court.

6. Plaintiff Mikayla Gaffney is a citizen of Pennsylvania and the United States With
a current address of 2426 North 50th Street, Pliiladelphia, PA 19131.

7. Upon information and belief, Defendant Xolo Tacos 2, LLC is a domestic
corporation that regularly conducts transactions in the Commonwealth of Pennsylvania.

8. Defendant is a “private employer” and covered by the FLSA and the PMWA.

9. Plaintiff is a previous employee Who Was employed by Defendant during all
relevant times hereto and as suchj is an employee entitled to the protections of the FLSA and the
PMWA.

10. At all times relevant hereto, Defendant acted or failed to act through its agents,
servants and/or employees thereto existing, each of Whorn acted at all times relevant hereto in the

course and scope of their employment with and for Defendant.

 

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JURISDICTION ANI) VENUE

11. This Court has jurisdiction over this matter pursuant to 29 U.S.C. § 216(b), which
provides, in relevant part, that suit under the FLSA “may be maintained against any employer . . .
in any Federal or State court of competent jurisdiction.” §e_e 29 U.S.C. § 216(b).

12. This Court has supplemental jurisdiction over Plaintiff’s state law claims because
those claims arise out of the same nucleus of operative fact as her federal law claims.

13. rl`he venue in this district is proper pursuant to 28 U.S-C. § 139l(b), as
Defendant’s principal place of business is located in this district, and the unlawful practices of
which Plaintiff is complaining were committed in this district

FLSA COLLEC'I`IVE ACTION ALLEGATIONS

14. Paragraphs l through 13 are hereby incorporated by reference as though the same
Were fully set forth at length herein.

15. This action is brought as a collective action to recover unpaid minimum wages,
liquidated damages, unlawfully withheld wages, statutory penalties and damages owed to
Plaintiff and all similarly situated current and former employees of Defendant.

16. Pursuant to 29 U.S.C. § 2l6(b) of the FLSA, Plaintiff brings this action
individually and on behalf of all other similarly situated persons presently or formerly employed
by Defendant in the position of Servers or in positions with similar job duties who Were subject
to Defendant’s unlawful pay practices and policies described herein and who worked for
Defendant at any point in the three (3) years preceding the date the instant action was initiated
(the members of the putative class are hereinafter referred to as the “Class Plaintiffs”).

17. Upon information and belief, Plaintiff estimates that there are at least fifteen (15)
other Servers who either Were or are working for Defendant and were unlawfully denied

minimum wages mandated by the FLSA for all hours worked in a Workweek. The precise

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number of employees can be easily ascertained by Defendant. These employees can be identified
and located using Defendant’s payroll and personnel records Potential Class Plaintiffs may be
informed of the pendency of this Collective Action by direct mail and/or publication.

18. Pursuant to 29 U.S.C. § 216(b), this action is properly maintained as a collective
action because all the class members are similarly situated Plaintiff and other similarly situated
employees were similarly unlawfully denied minimum wages for all hours worked in a
workweek, had the same job classification and job duties, and were subject to the same uniform
policies, business practices, payroll practices, and operating procedures

19. Plaintiff will request the Court to authorize notice to all current and former
similarly situated employees employed by Defendant, informing them of the pendency of this
action and their right to “opt-in” to this lawsuit pursuant to 29 U.S.C. § 216(b), for the purpose of
seeking unpaid compensation and liquidated damages under the FLSA.

CLASS ACTION ALLEGATIONS

20. Paragraphs 1 through 19 are hereby incorporated by reference as though the same
were fully set forth at length herein.

21. Pla.intiff brings this action individually, and on behalf of the all other similarly
situated individuals, pursuant to Rule 23 of the Federal Rules of Civil Procedure, who were
employed by Defendant in the position of Server in the Commonwealth of Pennsylvania during
the last three (3) years and who were not paid minimum wages for all hours worked in a
workweek.

22. The class is so numerous that joinder of all members is impracticable Class
members may be informed of the pendency of this Class Action by direct mail.

23. Pursuant to Federal Rule of Civil Procedure 23(a)(2), there are questions of law

and fact common to the Classj including, but not limited to:

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A. Whether Plaintiff` s and Class’ received tips negate their attempt to the
minimum wage under the FLSA and PMWA;

B. Whether Defendant failed to pay Plaintiff and the Class minimum wage in
the period when said wages became due and owing in violation of the FLSA and PMWA;

C. Whether Defendant failed to accurately track and maintain records of the
hours worked by Plaintiff and the Class; and

D. Whether Plaintiff and the Class have suffered and are entitled to damages,
and if so, in what arnount.

24. Plaintiff’ s claims are typical of the claims of the Class members. Plaintiff is a
former employee of Defendant who was employed in the position of Server who has suffered
similar injuries as those suffered by the Class members as a result of Defendant’s failure to pay
minimum wages. Defendant’s conduct of violating the FLSA and PMWA has affected Plaintiff
and the Class in the exact same way.

25. Plaintiff will fairly and adequately represent and protect the interests of the Class.
Plaintiff is similarly situated to the Class and has no conflict with the Class members

26. Plaintiff is committed to pursuing this action and has retained competent counsel
experienced in class action litigation

27. Pursuant to Rules 23(b)(1), (b)(2), and/or (b)(3) of the F ederal Rules of Civil
Procedure, this action is properly maintained as a class action because:

A. The prosecution of separate actions by or against individual members of
the Class would create a risk of inconsistent or varying adjudication with respect to individual

members of the Class that would establish incompatible standards of conduct for Defendant;

 

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B. Defendant, by failing to pay minimum wages when they became due and
owing in violation of the FLSA and PMWA, has acted or refused to act on grounds generally
applicable to the Class, thereby making equitable relief appropriate With respect to the Class as a
whole; and

C. The common questions of law and fact set forth above applicable to the
Class predominate over any questions affecting only individual members and a class action is
superior to other available methods for the fair and efficient adjudication of this case, especially
with respect to considerations of consistency, economy, efficiency, fairness and equity, as
compared to other available methods for the fair and efficient adjudication of the controversy

28. A class action is also superior to other available means for the fair and efficient
adjudication of this controversy because individual joinder of the parties is impractical. Class
action treatment will allow a large number of similarly situated persons to prosecute their
common claims in a single forum simultaneously, efficiently, and Without the unnecessary
duplication of effort and expense if these claims were brought individually Additionally, as the
damages suffered by each Class member may be relatively small, the expenses and burden of
individual litigation would make it difficult for the Class members to bring individual claims
The presentation of separate actions by individual Class members could create a risk of
inconsistent and varying adjudications establish incompatible standards of conduct for
Defendant, and/or substantially impair or impede the ability of each member of the Class to
protect his or her interests

FACTUAL BACKGROUND
29. Paragraphs 1 through 28 are hereby incorporated by reference as though fully set

forth at length herein.

 

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30. On or around November 22, 2017, Defendant hired Plaintiff as a Busser.

3 l. About one week later, Plaintiff switched into the role of a Server.

32. When Plaintiff first began her employment with Defendant in 2017, she, along
with Class Plaintiffs, were paid strictly in tips for all hours worked in a workweek.

33. Defendant paid Plaintiff at the end of each shift in cash and did not pay her any
wages beyond the tips she received from that night

34. Defendant failed to pay Plaintiff and Class Plaintiffs the minimum wage as
mandated by the FLSA and PMWA.

35. At the outset of her employment, Plaintiff would work approximately twenty-five
(25) to thirty (30) hours per week.

36. By way of example, during the work week of January 6, 2018 through January 14,
2018, Plaintiff worked approximately twenty seven and one half (27.5) hours, but did not receive
minimum wage for the hours she worked, as required by the FLSA/PMWA.

37. Upon information and belief, Class Plaintiffs worked similar hours and were not
paid minimum wage, but only tip compensation

38. Upon information and belief, Plaintiff and Class Plaintiffs would receive solely
their respective tips from each night worked.

39. Upon information and belief, Defendant took in excess of the maximum tip credit
permitted under the FLSA/PMWA.

40. In violation of the FLSA and PMWA, Defendant unlawfully failed to track,
record and report all the hours worked by Plaintiff and Class Plaintiffs.

41. As a result of Defendant’s aforesaid illegal actions, Plaintiff and Class Plaintiffs

have suffered damages

 

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42. As a result of Defendant’s deliberate, willful, malicious, and unlawful actions,
Plaintiff has suffered damages, including, but not limited to economic damages
COUNT I
FAIR LABOR STANDARDS ACT
FAILURE 'I`O PAY MINIMUM WAGE

43. Paragraphs l through 42 are hereby incorporated by reference as though the same
were fully set forth at length herein.

44. Pursuant to Section 203(m) of the FLSA and 29 C.F.R. §531.51, Defendant is
permitted to take a wage credit to those employees whose occupations in the workweeks for
which such payments are made are those of “tipped employees.”

45. Pursuant to Section 203(t) and of the FLSA and 29 C.F.R. §531.51, Plaintiff and
Class Plaintiffs are classified as tipped employees because they customarily and regularly receive
more than thirty (3 0) dollars a month in tips.

46. Moreover, Section 203(m) and (t) of the FLSA states an employer is required to
pay Plaintiff and Class Plaintiffs the standard minimum wage rate for all hours worked.

47. Furthermore, the FLSA permits employers to meet this requirement by taking a
tip credit based on the tips earned by employees Accordingly, an employer may pay tipped
employees the tipped wage rate of $2.13 and then count tips earned by the employees towards
the standard minimum wage rate.

48. According to the policies and practices of Defendant, it took in excess of the
maximum tip credit may take, and failed to pay Plaintiff and Class Plaintiffs the standard
minimum wage for all hours worked in violation of the FLSA.

49. Moreover, Defendant failed to satisfy the requirements of the FLSA with respect

to providing employees with advance notice of its intention to take a tip credit under the FLSA,

 

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and is thus not eligible to claim any tip credit for the hours worked by Plaintiff and Class
Plaintiffs. g 29 C.F.R. §531.59(b).

50. Furthermore, Defendant actively induced Plaintiffs and Class Plaintiffs not to
bring a claim for failure to pay minimum wage-

51. Defendant, therefore, cannot avail itself of the FLSA’s statute of limitations

52. The foregoing actions of Defendant and the policies and practices of Defendant
violate the FLSA.

5 3. Defendant’s actions were willful, not in good faith, and in reckless disregard of
clearly applicable FLSA provisions

54. Defendant is liable to Plaintiff and Class Plaintiffs for actual damages liquidated
damages and other equitable relief, pursuant to U.S.C. 216(b), as well as reasonable attorneys’
fees, costs and expenses

WHEREFORE, Plaintiff prays for the following relief:

A. An Order from this Court permitting this litigation to proceed as a collective
action pursuant to 29 U.S.C. § 216(b);

B. An Order from this Court ordering Defendant to file with this Court and furnish to
the undersigned counsel a list of all names and addresses of all employees who have worked for
Defendant during the preceding three (3) years in the position of Server and/or in positions with
similarjob duties, and authorizing Class Plaintiffs’ counsel to issue a notice at the earliest
possible time to these individuals, informing them that this action has been filed, of the nature of
the action, and of their right to opt-in to this lawsuit if they worked for Defendant during the

liability period, but were not paid minimum wage as required by the FLSA;

 

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C. Adjudicating and declaring that Defendant’s conduct as set forth herein and above
is in violation ofthe FLSA;

D. Adjudicating and declaring that Defendant violated the FLSA by failing to pay the
standard minimum wage to Plaintiff and Class Plaintiffs for all hours worked in the workweek;

E. Awarding Plaintiff and Class Plaintiffs back pay wages;

F. Awarding Plaintiff and Class Plaintiffs liquidated damages in accordance with the
FLSA;

G_ Awarding Plaintiff and Class Plaintiffs reasonable attomeys’ fees and all costs of
this action, to be paid by Defendant, in accordance with the FLSA;

H. Awarding pre- and post-judgment interest and court costs as further allowed by
law;

I. Granting Plaintiff leave to add additional Plaintiffs by motion, the filing of written
opt-in consent forms, or any other method approved by the Court; and

J- F or all additional general and equitable relief to which Class Plaintiffs may be
entitled

COUNT II
PENNSYLVANIA MINIMUM WAGE ACT
FAILURE TO PAY MINIMUM WAGE

55. Parag;raphs l through 54 are hereby incorporated by reference as though the same
were fully set forth at length herein

56- The Pennsylvania Minimum Wage Act (“PMWA”) requires that all Pennsylvania
employers shall pay their “tipped employees” at least minimum wage.

57. Tipped employees, if not paid $7.25 per hour, must be paid at least $2.83 per hour

if the employer takes a “tip credit.”

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58. ln Pennsylvania, restaurants are allowed to use a tip credit of $4.42 per hour to
count towards the minimum wage that they must pay their tipped employees

59. Plaintiffs and Class Plaintiffs are “tipped employees” pursuant to the PMWA.

60. Defendant knowingly and intentionally violated the PMWA by refusing to pay
Plaintiffs and Class Plaintiffs minimum wage as provided by law.

61. Defendant failed to post in a conspicuous place, or otherwise inform employees
of, a summary of the PMWA and its regulations

62. Defendant actively induced Plaintiffs and Class Plaintiffs not to bring a claim for
failure to pay minimum wage.

63. Defendant, therefore, cannot avail themselves of the PMWA’s statute of
limitations

WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiffs and Class
Plaintiffs respectfully request that this Court enter judgment in their favor and against Defendant,
and grant them the maximum relief allowed by law, including, but not limited to:

A. An ()rder certifying this case as a class action and designating Plaintiff as the class
representative of the Class and her counsel as class counsel;

B. An award to Plaintiff and Class Plaintiffs for the unpaid minimum wages to which
they are entitled, including interest thereon, and penalties subject to proof;

C. An award Plaintiff and Class Plaintiffs of reasonable attorney’s fees and costs
pursuant to the PMWA; and

D. An award to Plaintiff and Class Plaintiffs for any other damages available to them
under applicable Pennsylvania law, and all such other relief as this Court may deem proper.

JURY DEMAND

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Plaintiff hereby demands a trial by jury as to all issues so triable

Respectfully submitted,

MURP G OUP, LLC

By:
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Dated: Z/’cf/(z offer

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DEMAND T() PRESERVE EVIDENCE
The Defendant is hereby demanded to preserve all physical and electronic information
pertaining in any way to Plaintiffs and Class Plaintiffs’ employment, to their potential claims
and their claims to damages, to any defenses to same, including, but not limited to electronic data
storage, employment files, files, memos, job descriptions, text messages, e-mails, spreadsheets,
images, cache memory, payroll records, paystubs, time records, timesheets, and any other

information and/or data which may be relevant to any claim or defense in this litigation

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